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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION

IN RE:                                    §
  INFOW, LLC et al.                       §      CASE NO. 22-60020
                                          §
  DEBTORS.1                               §      CHAPTER 11 (Subchapter V)
                                          §        Jointly Administered
                                          §

                           NOTICE OF RECEIPT OF FUNDS
                              [Related to Doc. Nos. 114]

       PLEASE TAKE NOTICE that the undersigned Subchapter V Trustee has received the

$25,000 advance required by the Stipulation and Agreed Order Dismissing Debtors’ Chapter 11

Cases (“Order”) [Docket No. 114]. These funds are currently held in Subchapter V Trustee’s

IOLTA account in accordance with the Order.

       DATED: June 17, 2022

                                                 Respectfully submitted,

                                                 HASELDEN FARROW PLLC

                                                 By: /s/ Melissa A. Haselden
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                                                 Subchapter V Trustee




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                               CERTIFICATE OF SERVICE

        I hereby certify that on June 17, 2022, I sent a true and correct copy of the above and
foregoing Notice of Receipt of Funds via the Court’s ECF notification system to the parties
listed below:

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